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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


UNITED STATES OF AMERICA                     :

                       Plaintiff              : Case No. 3:20-CR-33

                    vs.                       : HONORABLE WALTER H. RICE

Pollard, Glen                           :

                          Defendant          :


                          ORDER AMENDING BOND CONDITIONS


 For good cause shown, the Court hereby amends the bond conditions filed in this matter on
 March 25, 2020 and removes the following condition:

     1. Participate in one of the following location restriction programs and abide by all the
        requirements of the program which will include electronic monitoring. Home
        Incarceration.


 Adding:

     1. Participate in one of the following location restriction programs and abide by all the
        requirements of the program which will include electronic monitoring. Curfew.


 All other bond conditions remain in full force and effect.




                                                                           (tp - per Judge Rice authorization after his review)
 Date:09/17/2020                                 __________________________________
                                                 HONORABLE WALTER H. RICE
                                                 UNITED STATES DISTRICT JUDGE
